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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA


 ATUL PACHORI,                                       CIVIL ACTION NO. 2:21-CV-00925
             Plaintiff,
                                                     SECTION
 v.
                                                     JUDGE: NANNETTE JOLIVETTE
                                                     BROWN
 NIPPON KAIJI KYOKAI
 CORPORATION,
                                                     MAGISTRATE: DANA DOUGLAS
             Defendant.



                          DEFENDANT’S WITNESS AND EXHIBIT LISTS

           NOW COMES defendant Defendant Nippon Kaiji Kyokai (“ClassNK” or “Defendant”),

and pursuant to the Federal Rules of Civil Procedure and the Court’s August 27, 2021 Scheduling

Order hereby submits the following list of witnesses it may call at the trial and the exhibits it may

offer into evidence in this matter:

                                           WITNESSES

      1)       Atul Pachori, Plaintiff
               c/o Joseph M. Bruno
               Daniel A Meyer
               855 Baronne Street
               New Orleans, Louisiana 70113

      2)       Stewart Saedong Lee
               c/o Katelyn W. Harrell
               Jackson Lewis P.C.
               650 Poydras St. Suite 1900
               New Orleans, Louisiana 70130

      3)       James Boucher
               c/o Katelyn W. Harrell
               Jackson Lewis P.C.
               650 Poydras St. Suite 1900
               New Orleans, Louisiana 70130




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4)      Toshiro Koiwa
        c/o Katelyn W. Harrell
        Jackson Lewis P.C.
        650 Poydras St. Suite 1900
        New Orleans, Louisiana 70130

5)      Akira Naruse
        c/o Katelyn W. Harrell
        Jackson Lewis P.C.
        650 Poydras St. Suite 1900
        New Orleans, Louisiana 70130

6)      Any witness identified in discovery or listed by any party.

7)      Any treating physician, pharmacist or health care provider of the plaintiff.

8)      Custodian of Records for any physician, pharmacist or health care provider of the
        plaintiff.

9)      Custodian of Personnel Records for any employer of the plaintiff.

10)     Any witness listed in Plaintiffs’ initial disclosures, witness list or any subsequent
        witness list filed by Plaintiff.

11)     Any witness necessary for impeachment or rebuttal purposes.

12)     Any additional witnesses identified through discovery in this matter which has not yet
        been concluded.

                                         EXHIBITS

1)      EEOC Charge

2)      EEOC Pre-Charge Questionnaire - PACHORI-000096-099

3)      Plaintiff's Response to EEOC Position Statement - PACHORI-000204-221

4)      EEOC Docs Produced by Plaintiff - PACHORI-150-184

5)      EEOC interview notes with Lee - PACHORI-226

6)      Pachori's CV - ClassNK-000087

7)      April 2001 Employment Agreement - ClassNK-000080-086

8)      March 2011 Employment Agreement - ClassNK-000095-099



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9)      March 2011 Memo regarding position - ClassNK-000100

10)     1-15-2015 Job continuance letter - ClassNK-000047-048

11)     July 2012 Employment Agreement - PACHORI-081-088

12)     Job Description Surveyor 7-30-2017 - ClassNK-000042-043

13)     Job Description - Surveyor 1-15-2015 - ClassNK-000049-050

14)     Job Description - Surveyor 1-1-2019 - ClassNK-000044-045

15)     Job Description - Surveyor 7-1-2019 - PACHORI-190-191

16)     ClassNK Employee Handbook - PACHORI-045-078

17)     Handbook Acknowledgment 1-15-2015 - ClassNK-000051

18)     2012 Emails re expense reimbursement - PACHORI-120-121

19)     2013 Emails re personnel changes in Miami - PACHORI-117-118

20)     3-31-2014 Email Pachori to Koiwa re compensation for relocation - PACHORI-009

21)     Letter (undated) Pachori to Koiwa requesting compensation for forced relocation -
        PACHORI-116

22)     2015-2017 Emails requesting transfer to Florida - PACHORI-100-109

23)     Termination Letter - PACHORI-089

24)     1-20-2020 Email Pachori to Lee re termination - PACHORI-090

25)     1-20-2020 Email Pachori to Boucher – Exhibit 7 to Pachori Deposition

26)     2-7-2020 Email Pachori to Naruse with Work Data re termination - PACHORI-091-
        094

27)     2-11-2020 Email Naruse to Pachori re termination - PACHORI-095

28)     31 - 6-29-2020 Email Pachori to Naruse re son's health and termination - PACHORI-
        128

29)     COBRA and termination of benefits documents - ClassNK-000052-079

30)     2018-2020 Evaluations - ClassNK-000107-108, 000201




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31)   3-12-2020 Performance Review - PACHORI-000193

32)   2016 Vessel audit findings - PACHORI-000122-124

33)   2016 Emails Pachori and Koster re surveys - PACHORI-000114-115

34)   2018 Email Funasaka to Pachori re salary increase - PACHORI-110-111

35)   2019 Report of Local Management Review - ClassNK-000202-214

36)   2019 Top Management Review - PACHORI-001-044

37)   2020 Top Management Review ClassNK-000155-196

38)   Audit Reports - PACHORI-112-113

39)   Class NK Essential Critical Infrastructure Worker Letter 8-1-2020 - PACHORI-189

40)   February 1, 2011 request for travel reimbursement

41)   Tax Returns - PACHORI-231-318

42)   Job search records - PACHORI-132-149

43)   Personnel Change Info for Sun & Riemer - PACHORI-079-080

44)   New Orleans Activity and Jobs Refused - ClassNK-000197-199

45)   Qualification Quick Reference Sheet – Exhibit 4 to Pachori Deposition

46)   Email Pachori to Boucher Jobs refused in 2021 – ClassNK-000197

47)   Staff Activity November 1, 2015 - ClassNK-000198

48)   Staff Activity November 1, 2016 - ClassNK-000199

49)   Evaluation of Surveyor/Auditor – Pachori – 1-7-2019 - ClassNK-000200

50)   Evaluation of Surveyor/Auditor – Pachori – 1-31-2018 - ClassNK-000201

51)   Report of Local Management Review – ClassNK-000202-214

52)   Plaintiff’s Medical Records produced by Ochsner Health Systems;

53)   Plaintiffs’ Tax Returns;

54)   Plaintiffs’ Initial Disclosures;



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55)      Plaintiffs’ Responses to Defendant’s Discovery Requests;

56)      Exhibits needed for rebuttal or impeachment purposes.

57)      Other non-privileged, responsive documents which may become relevant during
         discovery in this matter which has not yet concluded.

      Respectfully submitted this 4th day of February 2022,



                                                  JACKSON LEWIS P.C.

                                                  s/ Katelyn W. Harrell
                                                  KATELYN W. HARRELL
                                                  La. Bar Roll No. 35164
                                                  E-mail: Katelyn.Harrell@jacksonlewis.com
                                                  JACKSON LEWIS P. C.
                                                  650 Poydras Street, Suite 1900
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                                                  COUNSEL FOR DEFENDANT

                                                  4892-5563-9564, v. 1




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